      Case 1:20-cv-03010-APM            Document 1200        Filed 03/27/25      Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                              ORDER

          Based on the parties’ Joint Status Report, ECF No. 1196, and Apple’s Response,

ECF No. 1197, the court orders the following as to the four matters addressed in the Joint Status

Report:

          The court adopts the process proposed by the parties in Part I.A.1.a (Redactions Prior to

the Evidentiary Hearing) and Part I.A.1.c (Presentations and Examinations). The court reserves

ruling as to Part I.A.1.b (Confidentiality Designations During the Evidentiary Hearing) pending

resolution of the New York Times Company’s Motion for Access to Judicial Records and

Proceedings, ECF No. 1192.
      Case 1:20-cv-03010-APM               Document 1200            Filed 03/27/25        Page 2 of 2




          Any amicus affidavit(s) that the court has granted leave to file, with the exception of Eddy

Cue’s, shall be due by April 21, 2025, and shall be no more than 10 pages, double-spaced.

If Mr. Cue is not called to testify at the Evidentiary Hearing, the court shall set a separate deadline

for his affidavit.

          Each side may introduce no more than 300 exhibits. That limitation shall not apply to:

(1) exhibits admitted during the liability trial; (2) exhibits introduced during a deposition;

(3) contracts; (4) data files; (5) written discovery responses; and (6) documents for which Google

employee Heather Adkins is a custodian. 1

          Each side shall file their opening post-hearing submissions by May 16, 2025, and their

responsive post-hearing submissions by May 23, 2025.

          The parties’ post-hearing submissions shall adhere to the following page limits, double-

spaced:

             Proposed Findings of Fact                                                250 pages

             Combined Brief & Proposed Conclusions of Law                             75 pages

             Responsive Proposed Findings of Fact                                     75 pages

             Combined Brief & Responsive Proposed Conclusions of Law 25 pages

          Per the court’s Order of March 11, 2025, ECF No. 1186, any amicus brief(s) that the court

has granted leave to file shall be due by May 9, 2025, and shall be no more than 20 pages, double-

spaced.




Dated: March 27, 2025                                              Amit P. Mehta
                                                             United States District Judge


1
  Given that the deadline to exchange exhibit lists is tomorrow, March 28, 2025, the parties may stipulate to an
extension of that deadline, or, in the event an agreement cannot be reached, seek leave of court.


                                                       2
